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                                  SHAPES
                         ACTIVITY BREAKDOWN
                       MARCH 31, 2008 - AUGUST 8, 2008



                                             TIME          FEES
        ACTIVITY                            SPENT        INCURRED
        Asset Sales                              10.4        $4,482.00
        Claims Review & Analysis                 27.5       $10,314.00
        Committee Matters                         7.7        $2,579.50
        DIP Financing                             2.6          $988.50
        Discovery                                 0.4           $90.00
        Executory Contracts                       0.6          $261.00
        Fee Application                           6.8        $1,008.50
        Financing                                55.7       $22,383.50
        General                                 360.5      $120,542.00
        Meetings & Hearings                     127.0       $52,814.50
        Motions & Applications                  120.8       $38,199.00
        Plan & Disclosure Statement             282.5      $115,319.00
        Pleadings                                64.2       $17,976.00
        TOTAL                                  1066.7      $386,957.50
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                                                                 Selection Criteria

Slip.Date                  8/1/2008 - 8/8/2008
Clie.Selection             Include: Shapes-CC
Slip.Slip Type             Time




Slip ID                                                    Attorney
  Dates and Time                                           Activity
  Status                                                   Client
  Description                                              Reference                        Units    Rate       Slip Value
179483                      TIME                           CEM                               0.50   225.00          112.50
  8/1/2008                                                 Fee Application
  WIP                                                      Shapes-CC
  Office conference with J. Moore regarding time. (.2) ;
  Office conference with D. Lieberman regarding fee
  application. (.3)

179488                      TIME                           JBM                              0.50     95.00           47.50
  8/1/2008                                                 Fee Application
  WIP                                                      Shapes-CC
  Conference with D. Lieberman and C. Mitchell
  regarding fee application preparation. (.2) ; Begin
  preparation of time regarding same. (.3)

179504                     TIME                           ADH                               1.50    435.00          652.50
  8/1/2008                                                Plan&Disclosure Statement
  WIP                                                     Shapes-CC
  Office conferences with D. Lieberman regarding
  closing delay, implementation, and related issues. (.7)
  ; Review and revise memo to Committee, and review
  documents. (.8)

179503                      TIME                           ADH                              0.30    435.00          130.50
  8/1/2008                                                 Motions&Applications
  WIP                                                      Shapes-CC
  Review of pleadings filed with Bankruptcy Court.

179492                        TIME                        DHL                               1.00    350.00          350.00
  8/1/2008                                                General
  WIP                                                     Shapes-CC
  Email exchange with M. Felger regarding closing
  documents. (.2) ; Preparation of Trust contacts. (.3) ;
  Meeting with J. Moore regarding early September fee
  application. (.1) ; Drafting - email to Committee. (.4)

179482                   TIME                              CEM                              0.20    225.00           45.00
  8/1/2008                                                 Motions&Applications
  WIP                                                      Shapes-CC
  Review docket and forward to D. Lieberman.

179484                   TIME                              CEM                              0.20    225.00           45.00
  8/4/2008                                                 Motions&Applications
  WIP                                                      Shapes-CC
  Review docket and forward to D. Lieberman.

179485                     TIME                            CEM                              1.20    225.00          270.00
  8/4/2008                                                 Fee Application
  WIP                                                      Shapes-CC
  Review time in preparation for fee application.

179506                    TIME                             ADH                              0.30    435.00          130.50
  8/4/2008                                                 General
  WIP                                                      Shapes-CC
  Follow-up on fee statements.
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  Dates and Time                                           Activity
  Status                                                   Client
  Description                                              Reference                        Units    Rate       Slip Value
179505                     TIME                            ADH                               2.10   435.00          913.50
  8/4/2008                                                 Plan&Disclosure Statement
  WIP                                                      Shapes-CC
  Emails with H. Konicov regarding performace, closing
  date, cushion and other related issues. (.5) ; Follow-up
  with D. Lieberman regarding same. (.4) ; Follow-up
  with D. Lieberman regarding plan administration
  agreement. (.3) ; Emails with Committee members
  regarding status and projected closing date. (.6) ;
  Receive and review extension letter. (.3)

179493                       TIME                          DHL                              0.30    350.00           105.00
  8/4/2008                                                 General
  WIP                                                      Shapes-CC
  Emails to M. Felger, S. Sass, D. Platt regarding
  closing, plan administration agreement.

179497                      TIME                         JDD                                0.20    275.00            55.00
  8/5/2008                                               Meetings & Hearings
  WIP                                                    Shapes-CC
  Meeting with C. Mitchell regarding fee application and
  assembly of documents for same.

179507                     TIME                            ADH                              1.20    435.00           522.00
  8/5/2008                                                 Meetings & Hearings
  WIP                                                      Shapes-CC
  Review confirmation transcript.

179498                       TIME                          JDD                              3.60    275.00           990.00
  8/5/2008                                                 Motions&Applications
  WIP                                                      Shapes-CC
  Begin draft of fee application.

179508                      TIME                           ADH                              0.50    435.00           217.50
  8/5/2008                                                 General
  WIP                                                      Shapes-CC
  Prepare bills.

179509                     TIME                          ADH                                0.90    435.00           391.50
  8/5/2008                                               Plan&Disclosure Statement
  WIP                                                    Shapes-CC
  Emails with H. Konicov regarding closing and cap. (.3)
  ; Receive and review cap projection/analysis. (.6)

179494                     TIME                            DHL                              0.30    350.00           105.00
  8/5/2008                                                 General
  WIP                                                      Shapes-CC
  Email to S. Sass regarding closing. (.2) ; Email to A.
  Halperin regarding professionals involved in
  transaction. (.1)

179489                    TIME                             JBM                              0.60     95.00            57.00
  8/5/2008                                                 General
  WIP                                                      Shapes-CC
  Begin preparation of monthly fee statement.

179486                   TIME                              CEM                              0.20    225.00            45.00
  8/5/2008                                                 Motions&Applications
  WIP                                                      Shapes-CC
  Review docket and forward to D. Lieberman.

179511                       TIME                         ADH                               2.30    435.00          1000.50
  8/6/2008                                                Plan&Disclosure Statement
  WIP                                                     Shapes-CC
  Follow-up on Trust set up, escrow account, transfer
  logistics and related issues necessary to go effective.
  (1.3) ; Office conferences with D. Lieberman regarding
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  Dates and Time                                          Activity
  Status                                                  Client
  Description                                             Reference                       Units    Rate       Slip Value
  closing and tasks. (.4) ; Follow-up with S. Sass
  regarding same. (.4) ; Emails with M. Felger and A.
  Brody regarding closing issues. (.2)

179499                       TIME                           JDD                           0.50    275.00           137.50
  8/6/2008                                                  Meetings & Hearings
  WIP                                                       Shapes-CC
  Coordinate with J. Moore regarding charts in support of
  fee application. (.2) ; Conferences with A. Halperin (.1)
  and D. Lieberman regarding same. (.2)

179500                        TIME                        JDD                             8.00    275.00          2200.00
  8/6/2008                                                Motions&Applications
  WIP                                                     Shapes-CC
  Begin review of docket and pleadings for background
  to fee application. (2.2) ; Review NJ standards for fee
  applications and incorporate law into draft. (1.5) ;
  Begin draft of fee application. (4.3)

179510                        TIME                        ADH                             1.40    435.00           609.00
  8/6/2008                                                Motions&Applications
  WIP                                                     Shapes-CC
  Review time records, and prepare bill. (.5) ; Work on
  fee application. (.6) ; Discuss same with J. Dyas. (.3)

179490                      TIME                           JBM                            1.10     95.00           104.50
  8/6/2008                                                 Fee Application
  WIP                                                      Shapes-CC
  Preparation of time for fee application. (.3) ; Contiune
  work on monthly fee statement. (.8)

179487                   TIME                             CEM                             0.20    225.00            45.00
  8/6/2008                                                Motions&Applications
  WIP                                                     Shapes-CC
  Review docket and forward to D. Lieberman.

179495                       TIME                          DHL                            1.50    350.00           525.00
  8/6/2008                                                 General
  WIP                                                      Shapes-CC
  Placed call to A. Halperin and S. Sass regarding plan
  administration and bank account. (.5) ; Email to A.
  Halperin regarding same. (.1) ; Placed calls (2x) to S.
  Sass. (.4) ; Emails to M. Felger with plan
  administration, tax ID query. (.2) ; Placed call to A.
  Brody regarding closing. (.2) ; Meeting with A. Halperin
  regarding Trust issues. (.1)

179513                      TIME                          ADH                             0.40    435.00           174.00
  8/7/2008                                                General
  WIP                                                     Shapes-CC
  Emails with D. Lieberman regarding delay and
  reasons. (.2) ; Follow-up with D. Lieberman and H.
  Konicov. (.2)

179515                        TIME                         DHL                            1.20    350.00           420.00
  8/7/2008                                                 General
  WIP                                                      Shapes-CC
  Placed call to S. Sass. (.2) ; Emails to S. Sass and
  from T. Britt. (.3) ; Meeting with A. Halperin regarding
  closing. (.6) ; Meeting with J. Moore regarding fee
  application. (.1)

179514                      TIME                         JBM                              0.70     95.00            66.50
  8/7/2008                                               Fee Application
  WIP                                                    Shapes-CC
  Conference with A. Halperin regarding fee application
  issues. (.2) ; Update time on fee application and work
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  Dates and Time                                            Activity
  Status                                                    Client
  Description                                               Reference                        Units    Rate       Slip Value
  on exhibits. (.5)

179516                        TIME                          DHL                              1.10    350.00           385.00
  8/7/2008                                                  General
  WIP                                                       Shapes-CC
  Placed call to T. Britt regarding Trust account. (.1) ;
  Emails to A. Brody and M. Felger, WIlmington Trust
  regarding wire. (.4) ; Emails to and from M. Felger, I.
  Volkov and H. Konicov regarding closing. (.6)

179502                       TIME                         JDD                                0.20    275.00            55.00
  8/7/2008                                                Meetings & Hearings
  WIP                                                     Shapes-CC
  Discussions with D. Lieberman regarding background
  to fee application on various issues from time entries.

179512                      TIME                           ADH                               1.10    435.00           478.50
  8/7/2008                                                 Motions&Applications
  WIP                                                      Shapes-CC
  Follow-up on escrow, accounts, wire instructions, etc.,
  necessary for closing. (.5) ; Office conferences with D.
  Lieberman regarding same. (.3) ; Review and finalize
  fee statement. (.3)

179501                        TIME                          JDD                              8.20    275.00          2255.00
  8/7/2008                                                  Motions&Applications
  WIP                                                       Shapes-CC
  Review docket and various entries in preparation for
  finalization of fee application. (1.5) ; Review time
  records for duration of compensation period. (2.0) ;
  Complete initial draft of fee application. (4.7)

179496                   TIME                               CEM                              0.20    225.00            45.00
  8/7/2008                                                  Motions&Applications
  WIP                                                       Shapes-CC
  Review docket and forward to D. Lieberman.

179491                     TIME                             JBM                              2.00     95.00           190.00
  8/7/2008                                                  Fee Application
  WIP                                                       Shapes-CC
  Continued preparation of and finalize and email
  monthly fee statement to counsel for filing.

179517                      TIME                            JDD                              0.80    275.00           220.00
  8/8/2008                                                  Motions&Applications
  WIP                                                       Shapes-CC
  Update fee application for revised closing date and
  emails with A. Halperin regarding same. (.5); Review
  charts. (.3)

179534                        TIME                        ADH                                1.10    435.00           478.50
  8/8/2008                                                Motions&Applications
  WIP                                                     Shapes-CC
  Follow-up with D. Lieberman regarding closing issues
  and fee application. (.8) ; Review Cozen fee statement.
  (.3) ;

179535                       TIME                        ADH                                 1.00    435.00           435.00
  8/8/2008                                               Plan&Disclosure Statement
  WIP                                                    Shapes-CC
  Review J. H. Cohn Cohn emails regarding funding and
  effective date, and follow-up with H. Konicov and D.
  Lieberman. (.3) ; Emails with M. Felger regarding
  closing. (.2) ; Telephone calls with S. Sass regarding
  anticipated closing and preparation for same. (.5)
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  Dates and Time                                     Activity
  Status                                             Client
  Description                                        Reference                            Units    Rate       Slip Value
179536                   TIME                        ADH                                   0.70   435.00          304.50
  8/8/2008                                           General
  WIP                                                Shapes-CC
  Emails with Committee members regarding status, and
  respond to inquiries.

179537                     TIME                          DHL                               1.20   350.00          420.00
  8/8/2008                                               General
  WIP                                                    Shapes-CC
  Emails regarding Trust account, funding, etc. (.4) ;
  Review and revisions to fee application. (.8)

179538                    TIME                        DHL                                  0.50   350.00          175.00
  8/8/2008                                            General
  WIP                                                 Shapes-CC
  Exchange of emailswith M. Felger, Wilmington Trust,
  S. Sass.

179539                   TIME                            DHL                               0.40   350.00          140.00
  8/8/2008                                               General
  WIP                                                    Shapes-CC
  Drafting of memo to Committee.


Grand Total
                                                         Billable                         51.40               16048.50
                                                         Unbillable                        0.00                   0.00
                                                         Total                            51.40               16048.50
